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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                           WAYCROSS DIVISION




              BENJAMIN LESHAWN COOPER,

                                  Petitioner,                       CIVIL ACTION NO.: CV509-038

                           km


              UNITED STATES OF AMERICA,                             (Case No.: CR592-029)

                                  Respondent.


                          MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                    Petitioner Benjamin LeShawn Cooper ("Petitioner"), who is currently incarcerated

              at the Federal Correctional Institution in Miami, Florida, filed a motion to vacate, set

              aside, or correct his sentence pursuant to 28 U.S.C. § 2255. The Government filed a

              Response, and Petitioner filed a Reply For the reasons which follow, Petitioner's

              Motion should be DISMISSED.

                                            STATEMENT OF THE CASE

                    The following background information comes from a Report and

              Recommendation issued in Petitioner's prior § 2255 action:

                     On April 16, 1993, in Case Number CR592-29, a jury found petitioner
                     guilty of conspiracy to possess with the intent to distribute cocaine in
                     violation of 21 U.S.C. § 846, and possession and use of a firearm during a
                     drug trafficking offense in violation of 18 U.S.C. § 924(c). On June 16,
                     1993, petitioner was sentenced to consecutive terms of 360 months on the
                     conspiracy charge and 60 months on the firearms charge. Petitioner was
                     also sentenced to concurrent supervised release terms of five years on
                     the conspiracy charge and three years on the firearms charge. Petitioner's
                     sentence on the conspiracy charge was reduced sua sponte to 292



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                    months due to a retroactive amendment of U.S.S.G. § 2D1.1, reducing his
                    total sentence to 352 months.

                    Petitioner and eight other co-defendants appealed their convictions,
                    alleging inter alia that the sentencing court applied the 1992 version of
                    U.S.S.G. § 1131.3 instead of the 1993 version, and held them accountable
                    for too much cocaine. On October 26, 1995, the Eleventh Circuit
                    affirmed petitioner's sentence.

              (CV596-60, Doc. No. 12, pp. 1-4) (citations omitted). Petitioner asserted that his

              sentence should have been vacated because his predicament was similar to that of his

              co-appellants, who were successful on appeal. (Id). After considering various

              supplemental pleadings, the Court denied Cooper's § 2255 motion. (Id. at Doc. Nos.

              12, 15). Cooper now has filed this instant successive 28 U.S.C. §2255 motion claiming

              that the "district court was lack [sic] jurisdiction to impose a sentence for an offense not

              charged in the indictment.....(Doc. No. 1, p. 7).

                                   DISCUSSION AND CITATION TO AUTHORITY

                     To file a second or successive § 2255 motion, the Antiterrorism and Effective

              Death Penalty Act of 1996 ("AEDPA") requires the movant to first file an application with

              the appropriate court of appeals for an order authorizing the district court to consider the

              motion. 28 U.S.C. § 2244(b)(3)(A); Farris v. United States, 333 F.3d 1211, 1216 (11th

              Cir. 2003). A panel of the court of appeals must certify that the second or successive

              motion contains:

                     (1) newly discovered evidence that, if proven and viewed in light of the
                     evidence as a whole, would be sufficient to establish by clear and
                     convincing evidence that no reasonable factfinder would have found the
                     movant guilty of the offense; or (2) a new rule of constitutional law, made
                     retroactive to cases on collateral review by the Supreme Court, that was
                     previously unavailable.




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              28 U.S.C. § 2255(h); In re Anderson, 396 F.3d 1336, 1337 (11th Cir. 2005). Without

              authorization from the court of appeals, a district court lacks jurisdiction to consider a

              petitioner's second or successive motion. Farris, 333 F.3d at 1216 (citing Hill v. Hopper,

              112 F.3d 1088, 1089 (11th Cir. 1997)).

                    This Court lacks jurisdiction to consider Petitioner's motion, as Petitioner has

              presented no evidence that he has obtained permission from the Eleventh Circuit to file

              this successive § 2255 motion.

                                                   CONCLUSION

                     Based on the foregoing, it is my RECOMMENDATION that Petitioner's motion to

              set aside, vacate, or correct his sentence, brought pursuant to 28 U.S.C. § 2255, be

              DISMISSED.

                    SO REPORTED and RECOMMENDED, this                2 ay of February, 2010.


                                                          MES E. GRAHAM
                                                         NITED STATES MAGISTRATE JUDGE




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